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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 CRIMINAL NO. 20-055

VERSUS                                                   SECTION “F”
                                                         JUDGE MARTIN L.C. FELDMAN
JASON R. WILLIAMS
NICOLE E. BURDETT                                        MAGISTRATE (4)
                                                         MAGISTRATE JUDGE ROBY


    MOTION AND INCORPORATED MEMORANDUM TO DISMISS INDICTMENT
      AND STAY PROCEEDINGS DUE TO JURY SELECTION VIOLATIONS

         Defendants Jason R. Williams and Nicole E. Burdett, through undersigned counsel,

respectfully move the Court for an order dismissing the indictment in this case and staying any

further proceedings until the method of jury selection adopted in this District is reformed to meet

the requirements of the Sixth Amendment and the Jury Selection and Service Act of 1968

(“JSSA”), 28 U.S.C. §§ 1861, et seq.

         Undersigned counsel learned on Saturday, January 23, 2021, that the substantial

noncompliance of the jury selection plan in this District is being litigated before the Hon. Barry

W. Ashe, Section M, in United States v. Age, et al., No. 2:16-cr-32, as reported in The Times

Picayune. Undersigned counsel then reviewed the pleadings and affidavit filed in that case. See

Exh. “A,” Motion; Exh. “B,” Order. 28 U.S.C. § 1867 requires that a defendant file a motion to

dismiss the indictment or stay proceedings within seven days of discovery of the grounds of

“substantial failure to comply with the provisions of this title in selecting the grand or petit jury.”

         Mr. Williams and Ms. Burdett are filing this motion to comply with the time requirements

of 28 U.S.C. § 1867, and ask the Court to defer ruling on this Motion until Judge Ashe rules upon

the substantial compliance or noncompliance of the jury selection plan with the JSSA, based upon

the facts and evidence to be developed in United States v. Age, et al., No. 2:16-cr-32.

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         The discovery on the racial composition of the grand jury that indicted Mr. Williams and

Ms. Burdett is similar to the statistical information discovered in the Guillory case. In connection

with earlier motion practice, Mr. Williams and Ms. Burdett were provided with discovery

regarding the racial composition of the grand jury that indicted them, which reflects that of the 79

grand potential jurors who were summoned, only 20 (25.3%) were African American. Of the 29

grand jurors and alternates who were selected, only 5 (17.2%) were African American. See Exh.

C, Grand Jury Empanelment.

         WHEREFORE, after due proceedings had, Mr. Williams and Ms. Burdett ask the Court

to grant their Motion.

                                                       Respectfully submitted,

 s/Avery B. Pardee                                  s/William P. Gibbens
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                                  CERTIFICATE OF SERVICE

         I certify that on January 26, 2021, I electronically filed the foregoing pleading with the

Clerk of Court using the CM/ECF System, which will send a copy of the pleading to all parties

via email.


                                               /s/ Avery B. Pardee




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